(Rev. 05/21)
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                                     United States District Court – Western District of Washington
                                                     TRANSCRIPT ORDER FORM


                       Court Reporter:       Barry Fanning                                            Judicial Officer:     Benjamin H. Settle

               Case No. ______________________
                        19-cv-05553                                       Case Name: ____________________________________________
                                                                                     Kylie Steele v National Railroad Passenger Corp

               Date(s):                 Proceedings to be transcribed:                            Court Reporter (if different from selection above):
               09/27/2021               Pretrial Conference




               For Appeal? ✔ No                   Yes                 Court of Appeals Case No. ___________________________________
               If you are submitting this form to designate transcripts for appeal only, and do not wish to request the preparation of any transcripts, please
               skip to, and complete, the Additional Comments and Contact Information sections, sign, date, and submit this form via CM/ECF.


                 Please choose one:                     Maximum Transcript Fees – Per Page
                                                          Original  1st Copy     2nd Copy                           Requested Delivery Date*
                         Ordinary Transcript (30 day)     $3.65     $ .90        $ .60
                         14-Day Transcript (14 day)       $4.25     $ .90        $ .60                          *Before filing this form, you MUST first
                 ✔       Expedited Transcript (7 day)     $4.85     $ .90        $ .60                          contact the individual court reporter to
                         3-Day Transcript (3 day)         $5.45     $1.05        $ .75                          secure your requested delivery date.
                         Daily Transcript (next morning) $6.05      $1.20        $ .90                          Requests for delivery of less than 30
                         Hourly Transcript (same day)     $7.25     $1.20        $ .90                          days will be honored when possible.




                     ✔    PDF (default delivery format)
                                                                                  yatesa@lanepowell.com
                                    Email address for delivery of PDF transcript: _____________________________________


               Additional Comments:




                                                                             Contact Information
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                City/State/Zip:         Seattle, WA 98101




               s/ Andrew G. Yates
               _______________________________________________________
                                                                                                                            09/28/2021
                                                                                                                           ____________________
               Signature                                                                                                    Date




                     PRINT                                                     SAVE AS                                                         RESET
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                                                                       INSTRUCTIONS

           • Use this form to order the transcription of proceedings. Complete a separate order form for each case number. An original must be
             ordered and prepared prior to the availability of copies. The original fee is charged only once.

           • Delivery Time: You MUST contact each individual court reporter to secure your requested delivery date prior to filing this form.
             Requests for delivery of less than 30 days will be honored when possible. Once contacted, the court reporter will notify you of the
             amount of the required deposit fee which may be mailed or delivered to the court reporter. Delivery time is computed from the date
             of receipt of the deposit fee, or receipt of the signed order form from the federal government.

           • Filing with the Court: Parties to the case must electronically file this form in the CM/ECF system. Non-parties and pro se litigants
             should deliver a copy of this form to the Clerk's Office or email a copy to: TranscriptOrderForm@wawd.uscourts.gov.

                   o If you are a CJA attorney requesting a transcript, please contact the CJA Panel Administrator to assist you in placing your
                     transcript order through eVoucher.

           • Completion of Order: The court reporter will notify you when the transcript is completed. If the deposit fee was insufficient to cover
             all charges, the court reporter will notify you of the balance due which must be paid prior to receiving the completed order.

           • NOTE: Full price may be charged only if the transcript is delivered within the agreed upon time frame. For example, if an order for
             expedited transcript is not completed and delivered within seven (7) calendar days, payment would be at the 14-day delivery rate,
             and if not completed and delivered within 14 calendar days, payment would be at the ordinary delivery rate.

           • Designation of Transcripts on Appeal: This form must be completed whether or not transcripts will be designated, and must be filed
             in the district court case in CM/ECF. Please place your transcript order far enough in advance for the court reporter(s) to complete
             and file the requested transcripts prior to any Ninth Circuit deadlines.

                   o If you are submitting this form to designate transcripts for appeal only, and do not wish to request the preparation of any
                     transcripts, please leave the Transcript Fees / Completion Date section blank, complete the Additional Comments and
                     Contact Information sections, sign, date, and submit this form via CM/ECF.

           • For additional information and court reporter contact information, please visit the Court's website.
